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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                                Case Number: 20-cv-60719-WPD

   ITAMAR MEDICAL LTD.,

          Plaintiff,
   v.

   ECTOSENSE NV and VIRTUOX, INC.,

         Defendant.
   ________________________________________/

                  ORDER REFERRING MOTION TO MAGISTRATE JUDGE

          PURSUANT to 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules of the

   Southern District of Florida, the Court REFERS Plaintiff Itamar Medical Ltd.’s Motion for

   Sanctions [DE 218] to United States Magistrate Judge Lurana Snow for appropriate disposition

   or report and recommendation.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

   this 15th day of November, 2021.




   Copies furnished to:

   Magistrate Snow
   All Counsel of Record
